                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                             SOUTHEASTERN DIVISION


UNITED STATES OF AMERICA,                      )
                                               )
             Plaintiff,                        )
                                               )
      vs.                                      )     Case No. 1:05CV181 HEA
                                               )
NORMAN MEDLEY,                                 )
                                               )
             Defendant.                        )

                  OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on the Order and Report and

Recommendation of United States Magistrate Judge Lewis M. Blanton, [Doc. No.

136], pursuant to 28 U.S.C. § 636(b), in which Judge Blanton recommends that

Defendant’s Motion to Suppress Statements, [Doc. No. 128], be denied. Defendant

has filed Objections to the Report and Recommendation.

      When a party objects to the magistrate judge's report and recommendation,

the Court must conduct a de novo review of the portions of the report, findings, or

recommendations to which the party objected. See United States v. Lothridge, 324

F.3d 599, 600 (8th Cir.2003) (citing 28 U.S.C. § 636(b)(1)). This includes a de

novo review of the magistrate’s findings of fact, including any credibility

determinations. Id. The court has reviewed the entire record, including listening to
the audio recordings of the hearing held on July 3, 2007.

      Defendant contends that the statements he gave to Sgt. McClendon on

December 15, 2005 were not voluntarily given and should therefore be suppressed.

This position is without merit in that the record clearly establishes the voluntary

nature of Defendant’s statements.

      Defendant initiated the conversation with Sgt. McClendon. Upon meeting

with Defendant, McClendon stopped Defendant from talking until he was advised of

his Miranda rights. Defendant stated that he understood those rights and signed a

waiver of those rights. The testimony establishes that the meeting took place in the

room in which all interviews are conducted; was not confrontational; was not

extensively long; Defendant did not appear to be uncomfortable at any time; and

Defendant was not in handcuffs at any time during the interview. No promises or

threats were made to Defendant. Defendant was advised that McClendon would

relate the information he gave to the prosecutors, however, McClendon also advised

Defendant that he could not make any promises. McClendon did tell Defendant that

prosecutors look favorably on cooperating individuals. This was not Defendant’s

first encounter with the criminal justice system; Defendant had been in custody prior

to the instant incarceration.

      This Court has previously ruled on Defendant’s Motions as they relate to

                                          -2-
probable cause for arrest. See, Order dated January 5, 2007. The only question

before the Court, therefore, is whether Defendant’s statements made to McClendon

on December 15, 2005 were voluntarily given.

             Voluntariness is determined by “the totality of the
      circumstances,” Blackburn v. Alabama, 361 U.S. 199, 206, 80 S.Ct.
      274, 4 L.Ed.2d 242 (1960), taking into consideration both the “conduct
      of the officers and the characteristics of the accused.” Wilson v.
      Lawrence County, 260 F.3d 946, 952 (8th Cir.2001). Statements made
      to officers are voluntary unless, “in light of the totality of the
      circumstances,” the defendant's power of self determination was
      critically impaired. United States v. Judon, 472 F.3d 575, 581-82 (8th
      Cir.2007).

U.S. v. Shan Wei Yu, 484 F.3d 979, 985-986 (8th Cir. 2007).

      Furthermore, initiation of the meeting is significant to the Court’s analysis:

              “[A] voluntary statement made by a suspect, not in response to
      interrogation, is not barred by the Fifth Amendment and is admissible
      with or without the giving of Miranda warnings.” United States v.
      Withorn, 204 F.3d 790, 796 (8th Cir.2000) (internal quotation omitted).
      After a review of the evidence produced at the suppression hearing, the
      magistrate judge concluded “the overwhelming evidence is that Aldaco
      initiated the request for reinterrogation by Officers Melcher and
      Negron” on December 11, 2001, concerning state homicide charges.
      These findings were adopted by the district court. There is no clear
      error in this factual finding. Thus, we affirm the district court's
      determination that “any common sense viewing of the videotape ...
      shows that Aldaco voluntarily and willingly relinquished” his Fifth
      Amendment right to silence. The same result follows in reviewing the
      circumstances under which he made statements to OPD officers on
      December 12, 2001. He again initiated the interview, and there is no
      evidence his statements were provided under duress or were anything
      other than voluntary. Therefore, the district court’s determination that

                                         -3-
      “[u]nquestionably, Aldaco was well aware of his Fifth Amendment
      rights and voluntarily chose to waive them,” is not clear error, and we
      affirm the district court’s denial of his motion to suppress the
      statements.

U.S. v. Aldaco, 477 F.3d 1008, 1016 (8th Cir. 2007). (Footnote omitted.)

      The totality of the circumstances clearly establish that Defendant’s statements

were voluntarily given. Moreover, there is no evidence that coercion or

inappropriate tactics were used during the interview and Defendant does not deny

that he received Miranda warnings. His will was in no way overborne. Nothing in

the record even remotely indicates that Defendant’s power of self determination was

critically impaired in any way. Defendant’s objection to Judge Blanton’s Report

and Recommendation are overruled. The Court, therefore adopts the thorough and

well reasoned Report and Recommendation in its entirety.

      Accordingly,

      IT IS HEREBY ORDERED that Defendant’s Motion to Suppress

Statements, [Doc. 128], is DENIED.

      Dated this 12th day of September, 2007.



                                              _______________________________
                                                 HENRY EDWARD AUTREY
                                              UNITED STATES DISTRICT JUDGE



                                        -4-
